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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

GARNET TURNER,                              )
individually and on behalf of all others    )
similarly situated, et al.,                 )
                                            )
       Plaintiffs,                          )
                                            )
       v.                                   )   CIV. ACT. NO. 2:13-cv-685-ECM
                                            )
ALLSTATE INSURANCE                          )
COMPANY,                                    )
                                            )
      Defendant.                            )
________________________________

JOHN E. KLAAS,                              )
on behalf of himself and all others         )
similarly situated, et al.,                 )
                                            )
       Plaintiffs,                          )
                                            )
       v.                                   )    CIV. ACT. NO. 2:15-cv-406-ECM
                                            )
ALLSTATE INSURANCE                          )
COMPANY,                                    )
                                            )
       Defendant.                           )

                                  FINAL JUDGMENT

       In accordance with the Memorandum Opinion and Order entered on this day, it is

the

       ORDER, JUDGMENT and DECREE of the Court that Final Judgment is entered in

favor of the Defendant and against the Plaintiffs, and that these cases are DISMISSED with

prejudice.
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      Costs are taxed against the Plaintiffs for which execution may issue.

      The Clerk of the Court is DIRECTED to enter this document on the civil docket as

a final judgment pursuant to Fed.R.Civ.P. 58.

      Done this 30th day of September, 2020.


                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE




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